       Case 4:18-cv-00342-KGB Document 124-5 Filed 04/29/20 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

DONNA CAVE, JUDITH LANSKY,                                                       PLAINTIFFS
PAT PIAZZA, and SUSAN RUSSELL

ANNE ORSI, AMERICAN HUMANIST                               CONSOLIDATED PLAINTIFFS
ASSOCIATION, FREEDOM FROM
RELIGION FOUNDATION, INC.,
ARKANSAS SOCIETY OF FREETHINKERS,
JOAN DIETZ, GALE STEWART, RABBI
EUGENE LEVY, REV. VICTOR H. NIXON,
TERESA GRIDER, and WALTER RIDDICK

THE SATANIC TEMPLE, DOUG MISICKO                                             INTERVENORS
aka “LUCIEN GREAVES,” and ERIKA
ROBBINS

v.                              No. 4:18CV00342 KGB/BD

JOHN THURSTON, Arkansas Secretary of State,
in his official capacity                                                        DEFENDANT

                      DEFENDANT’S THIRD SET OF REQUESTS
                       FOR PRODUCTION TO INTERVENORS

       Defendant, Secretary of State John Thurston, in his official capacity, through

counsel, propounds the following request for production to Intervenors to be answered in

the time and manner prescribed by the Federal Rules of Civil Procedure.

                                        *      *       *

       Please note that in what follows, a pair or list of items using “or” shall be read

inclusively such that “x, y, or z” shall be understood to mean “x or y or z or some of the

preceding or all of the preceding.”

       REQUEST FOR PRODUCTION NO. 1. Please produce a copy of all United

Federation of Churches, LLC, current and former governance documents (including, but not
           Case 4:18-cv-00342-KGB Document 124-5 Filed 04/29/20 Page 2 of 5




limited to, any articles of organization, operating agreement, bylaws, goal statement, leadership

policy, or organizational policy).

       REQUEST FOR PRODUCTION NO. 2. Please produce a copy of all Satanic Temple,

Inc., current and former governance documents (including, but not limited to, any articles of

organization, operating agreement, bylaws, goal statement, leadership policy, or organizational

policy).

       REQUEST FOR PRODUCTION NO. 3. To the extent not covered by the above

Requests for Production, please produce a copy of all Satanic Temple current and former

governance documents (including, but not limited to, any articles of organization, operating

agreement, bylaws, goal statement, leadership policy, or organizational policy).

       REQUEST FOR PRODUCTION NO. 4. Please produce a copy of all documents

describing or depicting any legal, financial, or organizational relationship between the United

Federation of Churches, LLC, and the Satanic Temple, Inc.

       REQUEST FOR PRODUCTION NO. 5. Please produce a copy of all documents

describing or depicting the powers, roles, or responsibilities of the following or of any legal,

financial, or organizational relationship of the following to one another or to the Satanic Temple:

the Executive Ministry, the National Council, the International Council, and Grey Faction.

       REQUEST FOR PRODUCTION NO. 6. Please produce a copy of all documents

describing the legal, financial, or organizational relationship between the Satanic Temple; the

United Federation of Churches, LLC; or the Satanic Temple, Inc., on one hand, and local

chapters affiliated in any way with any of those organizations, on the other (including, but not

limited to, any affiliation agreement, nondisclosure agreement, or set of local-chapter

guidelines).



                                                  2
        Case 4:18-cv-00342-KGB Document 124-5 Filed 04/29/20 Page 3 of 5




        REQUEST FOR PRODUCTION NO. 7. Please produce a copy of all Satanic Temple

newsletters that refer to or depict the Baphomet statue, the Ten Commandments monument, or

this litigation.

        REQUEST FOR PRODUCTION NO. 8. Please produce a copy of all correspondence

between either Doug Misicko (a.k.a. Doug Mesner, a.k.a. Lucien Greaves) or Cevin Soling

(a.k.a. Malcolm Jarry), on one hand, and Erika Robbins, on the other, relating to the Satanic

Temple or its activities, the Ten Commandments monument, the Baphomet statue, or this

litigation.

        REQUEST FOR PRODUCTION NO. 9. Please produce all correspondence between

either Doug Misicko (a.k.a. Doug Mesner, a.k.a. Lucien Greaves) or Cevin Soling (a.k.a.

Malcolm Jarry), on one hand, and Mason Hargett, on the other, relating to the Satanic Temple or

its activities, the Ten Commandments monument, the Baphomet statue, or this litigation.

        REQUEST FOR PRODUCTION NO. 10. Please produce a copy of all records of

whatever kind of the remarks given by Doug Misicko (a.k.a. Doug Mesner, a.k.a. Lucien

Greaves) at the Satanic Temple Baphomet Unveiling event in Detroit, Michigan, on or about July

25, 2015.

        REQUEST FOR PRODUCTION NO. 11. Please produce a copy of all records of

whatever kind of the remarks given by Doug Misicko (a.k.a. Doug Mesner, a.k.a. Lucien

Greaves) at the Satanic Temple Devil’s Renaissance event on or about December 28, 2019.

        REQUEST FOR PRODUCTION NO. 12. Please produce a copy of all records of

whatever kind of the remarks given by Stu de Haan at the Satanic Temple Devil’s Renaissance

event on or about December 28, 2019.




                                                3
       Case 4:18-cv-00342-KGB Document 124-5 Filed 04/29/20 Page 4 of 5




       REQUEST FOR PRODUCTION NO. 13. Please produce a copy of all records of

whatever kind of the remarks given by Matthew Kezhaya at the Satanic Temple Devil’s

Renaissance event on or about December 28, 2019.

                                          Respectfully submitted,

                                          LESLIE RUTLEDGE
                                          Attorney General

                                          /s/ Michael A. Cantrell
                                          Nicholas J. Bronni (2016097)
                                           Solicitor General of Arkansas
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                                          Attorneys for Secretary of State John Thurston

                                             4
        Case 4:18-cv-00342-KGB Document 124-5 Filed 04/29/20 Page 5 of 5




                                  CERTIFICATE OF SERVICE

        I, Michael A. Cantrell, certify that on January 29, 2020, I served the foregoing by email
to the following:

Andrew Schultz
aschultz@rodey.com
Attorney for Plaintiffs

Gerry Schulze
gerrysch@b-s-m-law.com
Attorney for Consolidated Plaintiffs

Matthew Kezhaya
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Attorney for Intervenors

                                            /s/ Michael A. Cantrell
                                            Michael A. Cantrell




                                               5
